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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF KENTUCKY
                                 OWENSBORO DIVISION


   LWD PRP GROUP,                                      )
                                                       )
          Plaintiff,                                   )
                                                       )
   v.                                                  )   Civil Action No. 5:12-CV-00127-
                                                       )   JHM-HBB
   ACF INDUSTRIES LLC, et al.                          )
                                                       )
          Defendants.                                  )


                                               ORDER

          Upon the Motion to Dismiss HCA Realty, Inc., Olympia Fields Osteopathic Hospital and

   Terre Haute Regional Hospital, LP with Prejudice, and for good cause shown, HCA Realty, Inc.,

   Olympia Fields Osteopathic Hospital and Terre Haute Regional Hospital, LP are hereby

   withdrawn from the pending Motion for Reconsideration or Alternatively Motion for

   Interlocutory Appeal or Motion to Stay Pending Outcome of Appeal (Doc. 971) and the pending

   Rule 12(b) motion to dismiss Plaintiff’s Third Amended Complaint (Doc. 1002); and HCA

   Realty, Inc., Olympia Fields Osteopathic Hospital and Terre Haute Regional Hospital, LP are

   dismissed from this cause with prejudice, each party to bear its own costs.

          SO ORDERED this ___________ day of ________________ 2014.




                                         CHIEF JUDGE MCKINLEY
                                         United States District Court
